 

 

APRZ 6 2018

TO BE FILED ON PUBLIC DOCK.ET

CLERK, U.S. DlSTRlCT COURT
EASTERN lSTRlCT OF CAL|FORN|A

 

To: Chambers of Magistrate Judge Carolyn K. Delaney Bv

via Couru'oom Deputy Kyle Owen, kowen@caed.uscourts.gov army crew
From: Jackie Lee Brown, Guardian Ad Litem for Minor Plaintiffs
Re: Appllcation for Order Authorizing Blocked Account Disbursement

Prasad v. County of Sutter, E.D. Cal. Case No. 2:12-cv-00592-TLN-CKD
APPLICATION
Pursuant to the procedure set forth in the relevant blocked account order entered under
seal by the Court in this case and E.D. Cal. L.R. 202(t), court-appointed guardian ad litem Jackie
Lee Brown hereby submits the following request for an order authorizing an interim

disbursement of blocked account funds.

Name (initlals only) of minor plaintiB`/blocked account beneficiary:

 

A . 5 . L .`P. l% n:~‘uu Name To Be Filed Under sean
Bank Account Number: To Be Filed Under Seal

 

Purpose(s) for which funds are requested:

Amount requested: § z . 000
Requested payee: ij 0 ('l_L\E L;€.@/ FjYO\/\\Y`\
Documentation supporting this request, if available, is attached _(or flled der seal, as appropriate).

D ATED :

 

{PROPOSED RDER

The Court hereby approves this request, and authorizes the withdrawal of the requested
amount from the indicated blocked account for disbursement to the payee identified above.

IT lS SO ORDERED.

DATED; W l Q/l/\/_\_

Hon. Carolyn K. Delaney
Magistrate .ludge
United States Distzict Court

 

{173170511

